          Case 2:17-cv-01731-TSZ Document 168 Filed 07/26/19 Page 1 of 4



1                                                             The Honorable Thomas S. Zilly

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8                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON
9                                   AT SEATTLE
10
       STRIKE 3 HOLDINGS, LLC, a
11     Delaware corporation,                        No. 2:17-cv-01731-TSZ

12                              Plaintiff,          NOTICE OF WITHDRAWAL BY
                                                    PLAINTIFF/COUNTER-
13             v.                                   DEFENDANT OF ITS MOTION TO
                                                    COMPEL ECONOMICS
14     JOHN DOE, subscriber assigned IP             INTERNATIONAL
       address 73.225.38.130,                       CORPORATION’S COMPLIANCE
15                                                  WITH RULE 45 SUBPOENA (DKT.
                                Defendant.          NO. 139)
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19          Pursuant to LCR 7(l), Plaintiff/Counter-Defendant Strike 3 Holdings, LLC hereby
20   withdraws its Motion to Compel Economics International Corporation’s Compliance with
21   Subpoena (Dkt. No. 139).
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     NOTICE OF WITHDRAW BY PLAINTIFF /
     COUNTER-DEFENDANT OF ITS MOTION TO COMPEL
     ECONOMICS INTERNATIONAL CORPORATION’S
     COMPLIANCE WITH RULE 45 SUBPOENA
     No. 2:17-cv-01731-TSZ – Page 1
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1    DATED this 26th day of July, 2019
2                                        LAW OFFICES OF
3                                        LINCOLN BANDLOW, PC
                                         By: /s/ Lincoln Bandlow
4                                        Lincoln D. Bandlow, Admitted Pro Hac Vice
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7                                        Facsimile: 310-861-5550
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8                                        Attorneys for Plaintiff

9                                        THE ATKIN FIRM, LLC
                                         By: /s/ John C. Atkin
10
                                         John C. Atkin, Admitted Pro Hac Vice
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12                                       Telephone: (973) 285-3239
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15                                       By: /s/ Jeremy E. Roller
                                         Jeremy E. Roller, WSBA #32021
16                                       1218 Third Avenue, Suite 2100
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17                                       Telephone: (206) 428-3250
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19                                       Attorneys for Plaintiff

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     NOTICE OF WITHDRAW BY PLAINTIFF /
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     ECONOMICS INTERNATIONAL CORPORATION’S
     COMPLIANCE WITH RULE 45 SUBPOENA
     No. 2:17-cv-01731-TSZ – Page 2
          Case 2:17-cv-01731-TSZ Document 168 Filed 07/26/19 Page 3 of 4



1                                   CERTIFICATE OF SERVICE
2            I, Annabel Barnes, hereby certify that on July 26, 2019, I electronically filed the
3    foregoing document with the Clerk of the Court using the CM/ECF system which will send
4    notification of filing to the following parties:
5
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6
                     E-mail: joshua@turnhamlaw.com
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          Case 2:17-cv-01731-TSZ Document 168 Filed 07/26/19 Page 4 of 4



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5                  Telephone: (503) 336-3749
6                  Attorneys for Defendant
7

8
     DATED this 26th day of July 2019 at Seattle, Washington.
9
10                                              /s/ Annabel Barnes
                                                Annabel Barnes, Legal Assistant
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